MAE-EITEL INC
ORWIGSBURGPA 17961                                                                                          CO. NO.   15737
m&t$m\0$W8|N®   llliiliJWLoy^Nwte^ - -      , 5 wPHliii liii^iliMi^^si^ililllittPEWODl       0"       CHEOCOA'm; -P«PEP,*Q
        139 PATRICK A DIEHL        XXX-XX-3O51 S O                             10/10/16-1O/23/16 10/27/16           1 1814
m$im% j^FfMl&l iiitPTE , - .THKFAX-^; oeos      THIS PAY                  Y-T-D    ^^DeSGR,, THIS PAY.. "• -     YW     ^


REG                                2991 . 4 2   SOCSEC       182.23      5056.23 GROSS            2991 .42     82692.09
                                                MDCARE        42.62      1 182.55
                                                FED WH       550.53     17O78.54
                                                PA TAX        9O.23      2503.58
                                                CTY TX        52.9 1     1468.02
                                                SUI            2.O9         57. 8O
                                                LST            2.00         44.OO
                                                401KLN       1O7.9O      2346. 8O
                                                LT DIS         9.23       201 .45
                                                SEC125        52.19      1 139.92



                'TOTAtPAY^         2991 .42     TOTAL DEDUCTION              1091 .93 N^TPAi                 1899.49
                                                                                       \   ~~ -

                                                                                                    PAY STATEMENT
                                                   HAPPY   HALLOWEEN




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           MAE-EITEL INC
           ORWIGSBURGPA 17961                                                                                                                     CO. NO.   15737

            Df=prwfEMR.NG                   BMPU3YEEMAMH               TAXPAYER JD         FED WH STATUS                ?AYPeR10D *     j CHECK DATE j OWXP NO

               1OOJ   139 PATRICK A DIEHL         XXX-XX-3051 S 0                                           1 1/21/16-12/04/1GJ12/08/16| 1 1964
           3E#MN6S> MSURSAWim SSi~RAtE^s jgi^p^ipis D£DS       THIS PAY                                    Y-T-O ^pilseRgs ^|§^is$jS^y; iill^y+^^Sil
           REG                              3145,27 SOCSEC      191 .77                                 5631 .54 GROSS        3145.27       92127.9O
           HOL         24.00                        MDCARE        44.85                                 1317.10
                                                    FED WH      588.99                                 18845.51
                                                    PA TAX        94.96                                 2788.46
                                                    CTY TX        55.68                                 1635.06
                                                    SUI             2. 2O                                 64.40
                                                    LST             2.0O                                  50.00
                                                    401KLN      1 07 . 90                               2670.50
                                                    LT DIS          9.23                                 229.14
                                                    SEC125        52. 19                                1296.49



                                     TOTAL PAY v           3145.27      TOTAL DEDUCTIONS                           1 149.77 |
                                                                                                                            lll
                                                                                                                              f |
                                                                                                                                |||               1995. SO

                                                                                                                                       PAY STATEMENT




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           MAE-EITEL INC
           OHWIGSBURG PA 17961                                                                                                                    CO. NO.   1S737

            DEFT NO    EWPUNO           s   EMPLOYEE MAME              TAXPAYER to .-      FED WH STATUS                MYPgfWOD           CHECK 0A1E   D(F»EP**3

                 1OO     139 PATRICK -A DIEHL                     XXX-XX-3051 S            0                                    12/23/16   12084
           ££Af*B'(#ss-; fHOtJPS'/LW'ltS; ^gf3wi&*m ss^srBJs-j^y^^         DEDS         THIS PAY           Y-T-O       ^JjgS<|gV|
                                                                                                                      4;^g:piS^y;!i5g!$
           REG                                          3145.27         SOCSEC           191 .77        59O3.91 GROSS     3145.27       96573.17
                                                                        MDCARE            44.85         1380.80
                                                                        FED WH           588.99        19598.68
                                                                        PA TAX            94.96         2923.33
                                                                        CTY TX            55.68         1714.14
                                                                        SUI                2.20              67.51
                                                                        LST                2.00              52.00
                                                                        401KLN           1O7.90            2778.40
                                                                        LT DIS             9.23             238.37
                                                                        SEC125            52.19            1348.68



                                vs   TOTAL PAY 1            3145. 27     TOTAL DEDUCTIONS,                         1 149.77 P^llP^it          1 "5 • 5O
                                                                                                                                       PAY STATEMENT


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